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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

MAURISHA REID,                )
                              )
                   Plaintiff, )
                              )
v.                            )                    JURY TRIAL DEMANDED
                              )
EASY CREDIT AUTO SALES INC.   )
Serve:                        )
Samuel F. Hudson              )
3101 S. Broadway              )
Wichita, KS 67216             )
                              )
                   Defendant. )


                                      COMPLAINT

       Plaintiff Maurisha Reid, by and through her undersigned attorneys, alleges

against Defendant Easy Credit Auto Sales Inc., stating as follows:

                                NATURE OF THE CASE

       1.     This is a case of a car dealership simply disregarding the tenets of the

Servicemembers Civil Relief Act and unlawfully repossessing Plaintiff’s vehicle while

she was on active duty.

                                        PARTIES

       2.     Plaintiff Maurisha Reid is a Georgia resident originally from Kansas. She

was enlisted in the U.S. Army when the events complained of herein took place and

remains a reservist.

       3.     Defendant Easy Credit Auto Sales Inc. is a Kansas for-profit corporation

with its principal place of business in Wichita.
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                            JURISDICTION AND VENUE

       4.     This Court has subject-matter jurisdiction over this lawsuit pursuant to 28

U.S.C. § 1331 because it is an action under the federal Servicemembers Civil Relief Act

(“the SCRA”).

       5.     This Court also has subject-matter jurisdiction over this lawsuit pursuant

to 28 U.S.C. § 1332 because it is between citizens of different states and the amount in

controversy exceeds $75,000.

       6.     This Court has (general) personal jurisdiction over Defendant because it is

a Kansas corporation whose business is largely, or exclusively, undertaken in Kansas.

       7.     Venue in this Court is proper pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial portion of the events or omissions giving rise to the claims contained herein

occurred in Kansas.

                        FACTS COMMON TO ALL COUNTS

       8.     On or about March 22, 2019, Plaintiff purchased the 2013 Buick Regal with

VIN 2G4GS5EV4D9174820 (“the Regal”) from Defendant.

       9.     Plaintiff purchased the Regal at Defendant’s lot in Wichita.

       10.    The installment contract memorializing the sale of the Regal to Plaintiff

listed a cash price of just under $14,000, an annual percentage rate of 21%, and a cash

down payment of $500.

       11.    At the time of her purchase, Plaintiff was not on active duty or in a period

of military service.


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       12.    Plaintiff proceeded to make numerous payments towards the Regal,

typically on a weekly basis.

       13.    Then a new Army servicemember, Plaintiff received from the Department

of Defense a letter, dated August 25, 2020, ordering her to active duty, for training in

Oklahoma and Virginia, which training was to begin on September 22, 2020.

       14.    Because Plaintiff would be out of state and without access to her phone

during basic training, Plaintiff informed Defendant of her military status and inquired

as to payment possibilities.

       15.    Specifically, Plaintiff asked whether she could set up direct deposit or

have her mother make payments in Plaintiff’s stead.

       16.    Defendant refused both requests.

       17.    In so doing, Defendant intentionally made it exceedingly difficult for

Plaintiff to make her car payments.

       18.    In fact, Defendant stated that it would consider it trespassing if Plaintiff’s

mother were to set foot on the lot.

       19.    On information and belief, the agents of Defendant that interacted with

Plaintiff in this regard were named, respectively, Logan and Michael.

       20.    On or about September 20, 2020, Plaintiff departed to report for active

duty, leaving the Regal at her mother’s house.

       21.    Not long thereafter—on information and belief, on or about October 5,

2020—Defendant repossessed the Regal from Plaintiff’s mother’s home.

                                       THE SCRA


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       22.    Congress enacted the SCRA, 50 U.S.C. § 3901 et seq., with the purpose of

strengthening national defense by allowing for “the temporary suspension of judicial

and administrative proceedings and transactions that may adversely affect the civil

rights of servicemembers during their military service.” 50 U.S.C. § 3902.

       23.    The SCRA proscribes the repossession of servicemembers’ collateral while

they are in “military service,” regardless of payment status, unless the repossessor

obtains a court order. 50 U.S.C. § 3952(a)(1).

       24.    Pursuant to 50 U.S.C. § 4042, Plaintiff possesses a private right of action

for Defendant’s violations of the SCRA, whereby Plaintiff may recover monetary

damages, litigation costs and reasonable attorneys’ fees, and other appropriate relief.

       DEFENDANT HAS INFLICTED EMOTIONAL DISTRESS ON PLAINTIFF

       25.    As mentioned, Plaintiff was preparing to move states and undertake U.S.

Army training so as to comply with an order issued by the Department of Defense.

       26.    As stated, Plaintiff informed Defendant in this regard and yet Defendant

extended her no courtesy.

       27.    In fact, an agent, or agents, of Defendant stated that Plaintiff’s mother

coming to make an in-person payment would constitute trespass.

       28.    But it was Defendant who trespassed on the mother’s property while

disregarding the SCRA and illegally repossessing the Regal.

       29.    Defendant’s actions have caused Plaintiff to suffer emotional distress,

including worry and fear.



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                              STATUTES OF LIMITATIONS

       30.     Pursuant to 50 U.S.C. § 3936(a), all applicable statutes of limitations

and/or repose are tolled for the period of Plaintiff’s military service.



                                   COUNT I:
             VIOLATIONS OF THE SERVICEMEMBERS CIVIL RELIEF ACT
                             50 U.S.C. § 3901 et seq.

       31.     Plaintiff, for this Count I of her Complaint, incorporates the previous

paragraphs as if wholly set forth herein.

       32.     The SCRA provides protections for servicemembers while they are in a

term of “military service.”

       33.     Among the protections the SCRA provides is that it prohibits the

repossession of a servicemembers’ collateral even if they have defaulted on the underlying

[retail installment contract] while they are in a period of “military service.” 50 U.S.C.

3952(a)(1) (emphasis added).

       34.     The one exception to this rule is that a creditor may repossess a

servicemember’s vehicle while they are in a period of “military service” only if they

have a court order. 50 U.S.C. 3952(a)(1). There are no other exceptions.

       35.     Plaintiff was a servicemember in a period of “military service” from

approximately September 22, 2020, until June 2021.

       36.     Defendant repossessed the Regal during that period of military service.

       37.     At the time of repossession—on or about October 5, 2020—Defendant did

not have a court order for such repossession.


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       38.    Defendant’s repossession of the Regal therefore violated 50 U.S.C. §

3952(a)(1).

       39.    Plaintiff was “aggrieved” by that repossession as the Regal was her

primary method of transportation, she had made numerous payments towards the

purchase of that vehicle, and she wanted to keep the Regal. As described, Plaintiff

attempted to set up alternative—and eminently reasonable—payment methods but was

rebuffed by Defendant.

       40.    If Defendant has reported Plaintiff’s credit negatively in this regard, then

Plaintiff is aggrieved in that aspect as well.

       41.    Defendant’s conduct as to Plaintiff was intentional, willful, wanton,

reckless, and/or fraudulent, entitling Plaintiff to recover punitive damages. As

described above, Plaintiff not only informed Defendant that she had been ordered to

active duty but also that she wanted to continue making payments during her service

period.

       42.    Plaintiff thereby prays for judgment against Defendant for her actual

damages, punitive damages, pre- and post-judgment interest in the greatest amount

allowable by statute, reasonable attorneys’ fees, costs in bringing this action, and such

other and further relief the Court finds just and proper under the circumstances.

                                COUNT II:
          VIOLATIONS OF THE KANSAS CONSUMER PROTECTION ACT
                           K.S.A. § 50-623 et seq.

       43.    Plaintiff, for this Count II of her Complaint, incorporates the previous

paragraphs as if wholly set forth herein.


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       44.      The Kansas Consumer Protection Act (“KCPA”), K.S.A. § 50-623 et seq.,

prohibits deceptive and unconscionable acts and practices in connection with consumer

transactions.

       45.      Plaintiff is and was a member of the military and thus a “protected

consumer” per K.S.A. § 50-676(g)(5).

       46.      Plaintiff has been damaged and is “aggrieved” pursuant to the KCPA as a

result of Defendant’s conduct, as described above, relative to a consumer transaction—

i.e., her purchase of the Regal from Defendant.

       47.      Plaintiff has been damaged and is “aggrieved” pursuant to the KCPA as a

result of Defendant’s conduct in that Defendant retained her down payment despite

illegally repossessing the Regal.

       48.      Plaintiff has been damaged and is “aggrieved” pursuant to the KCPA as a

result of Defendant’s conduct in that Defendant retained many of her car payments

despite illegally repossessing the Regal.

       49.      Plaintiff has been damaged and is “aggrieved” pursuant to the KCPA as a

result of Defendant’s conduct in that Defendant stole, converted, and/or illegally

repossessed the Regal.

       50.      Plaintiff has been damaged and is “aggrieved” pursuant to the KCPA as a

result of Defendant’s conduct in that she paid for auto insurance that necessarily

became worthless when Defendant seized the Regal.

       51.      Plaintiff has been damaged and is “aggrieved” pursuant to the KCPA as a

result of Defendant’s conduct in that Defendant harassed her while she was at work.


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       52.    Plaintiff has been damaged and is “aggrieved” pursuant to the KCPA as a

result of Defendant’s conduct in, and to the extent, that she must obtain a new vehicle.

       53.    Plaintiff has been damaged and is “aggrieved” pursuant to the KCPA as a

result of Defendant’s conduct because she was forced to retain counsel and litigate.

       54.    The KCPA should be liberally construed to promote its policies of

protecting consumers against suppliers that commit deceptive and unconscionable acts

and/or practices. K.S.A. § 50-623; Williamson v. Amrani, 283 Kan. 277, 234, 152 P.3d 60,

67 (2007).

       55.    For the purposes of calculating any applicable statute(s) of limitation, each

KCPA violation, described herein, entailed a separate and distinct violation.

       56.    Plaintiff is a “consumer,” as defined by K.S.A. § 50-624(b).

       57.    As a “consumer” under the KCPA, Plaintiff, by definition, had, and has,

less bargaining power than Defendant.

       58.    Defendant is a “supplier” as defined by K.S.A. § 50-624(l).

       59.    The purchase of the Regal was a “consumer transaction” as defined by

K.S.A. § 50-624(c).

       60.    Defendant’s violations of § 50-626, Deceptive Acts and Practices, include,

but are not limited to, the following:

              a.      XXX

       61.    Defendant’s violations of K.S.A. § 50-627, Unconscionable Acts and

Practices, include, but are not limited to, the following:

              a.      XXXX


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       62.      Pursuant to K.S.A. § 50-634(d)(1), Plaintiff is entitled to recover damages

for violations that are “specifically proscribed in K.S.A. §§ 50-626, 50-627 and 50-640.”

       63.      Pursuant to K.S.A. § 50-636(a), Plaintiff may recover a civil penalty of up

to $10,000 for each KCPA violation by Defendant.

       64.      Pursuant to K.S.A. § 50-677, the Court may impose an enhanced penalty of

$20,000 per violation because Plaintiff is a protected consumer.

       65.      Plaintiff is entitled to recover her costs and reasonable attorneys’ fees per

K.S.A. § 50-634(e).

       66.      Plaintiff thereby prays for judgment against Defendant in such amount as

is allowable by law and to be determined at trial, for her actual damages, pre- and post-

judgment interest at the greatest rate allowed by statute, statutory penalties, reasonable

attorneys’ fees, and for such other and further relief the Court finds just and proper

under the circumstances.

                                        COUNT III:
                                       CONVERSION

       67.      Plaintiff, for this Count III of her Complaint against Defendant,

incorporates the previous paragraphs as if wholly set forth herein.

       68.      As described above, Plaintiff purchased the Regal. As such, the Regal was

her property.

       69.      As described above, Defendant assumed or exercised control and

ownership over the Regal, to the exclusion of Plaintiff and her right of ownership as to

the Regal.


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         70.    As described above, Defendant’s assumption or exercise of ownership of

the Regal was without authorization. Indeed, Defendant simply stole the Regal from

Plaintiff’s mother’s home.

         71.    As such, Defendant committed conversion as to the Regal.

         72.    If Defendant has sold the Regal, Plaintiff did not give it authorization to

do so.

         73.    Plaintiff was damaged by Defendant’s conversion of the Regal.

         74.    In Kansas, conversion is a strict-liability tort.

         75.    Plaintiff thereby prays for judgment against Defendant in such amount as

is allowable by law and to be determined at trial, for her actual damages, pre- and post-

judgment interest at the greatest rate allowed by statute, and for such other and further

relief as may be just and proper under the circumstances.

                                       COUNT IV:
                                  BREACH OF CONTRACT

         76.    Plaintiff, for this Count IV of her Complaint against Defendant,

incorporates the previous paragraphs as if wholly set forth herein.

         77.    As described, Plaintiff entered the RISC with Defendant for the purchase

of the Regal.

         78.    Sufficient consideration supported that contract.

         79.    Plaintiff performed and/or was willing to perform in compliance with the

RISC. As stated, she made a $500 down payment on the Regal on the date of purchase.

         80.    As described herein, Defendant thoroughly breached the RISC.



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      81.      Defendant’s breach of that contract was the direct and proximate cause of

damages to Plaintiff, including but not limited to Defendant’s repossession of the Regal.

      82.      Plaintiff thereby prays for judgment against Defendant in such amount as

is allowable by law and to be determined at trial, for her actual damages, pre- and post-

judgment interest at the greatest rate allowed by statute, punitive damages, and for

such other and further relief as may be just and proper under the circumstances.

                                       COUNT V:
                                      NEGLIGENCE

      83.      Plaintiff, for this Count VIII of her Complaint, incorporates the previous

paragraphs as if wholly set forth herein.

      84.      Defendant owed Plaintiff a duty of care when handling Plaintiff’s account.

This required Defendant to act in a non-negligent manner, comply with the law, and

accept payments from Plaintiff’s mother when legally appropriate.

      85.      Defendant breached that duty of care by:

            a. Refusing to accept payments for the Regal from Plaintiff’s mother;

            b. Repossessing the Regal without providing Plaintiff a meaningful

               opportunity to cure the default;

            c. Repossessing the Regal without a Court Order;

            d. Upon information and belief, selling the Regal without providing Plaintiff

               a meaningful opportunity to cure the default; and

            e. Engaging in a pattern of conduct which, when taken in its totality, is and

               was negligent.



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         86.    Defendant’s failure to meet the requisite standard of care caused injury to

Plaintiff.

         87.    Defendant’s conduct was grossly negligent, intentional, willful, wanton,

reckless, fraudulent, and/or with malice.

         88.    Plaintiff thereby prays for judgment against Defendant in such amount as

is allowable by law and to be determined at trial, for her actual damages, pre- and post-

judgment interest at the greatest rate allowed by statute, punitive damages, and for

such other and further relief as may be just and proper under the circumstances.

                                DEMAND FOR JURY TRIAL

         Plaintiff hereby demands a jury trial on all issues so triable.

                       DESIGNATION OF PLACE OF JURY TRIAL

         Plaintiff designates Kansas City, Kansas as the place for this case to be tried to a

jury.




Respectfully submitted,



/s/ Bryce B. Bell
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